Case 2:15-cr-01515-RB Document 227 Filed 07/13/16 Page 1of1

IN THE DISTRICT COURT OF THE UNITED sTATER TL ED

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICGAS CRUCES. NEW MEXICO

JUL 132045
UNITED STATES OF AMERICA,
Plaintiff, MATTHEW J. DYKMAN
CLERK
VS.
DANIEL LEE JACQUEZ No. CAANS- ISIS RS
Defendant.

CONSENT TO PROCEED BEFORE UNITED STATES MAGISTRATE
JUDGE IN A FELONY CASE

The United States Magistrate Judge has explained to me the nature of the offense(s) with
which I am charged and the maximum possible penalties which might be imposed if I plead
guilty. I have been informed of my right to the assistance of legal counsel and of my right to
plead or go to trial, judgement and sentencing before a United States District Judge.

I HEREBY: Waive (give up) my right to enter my plea before a United
States District Judge and I consent to entering my plea,

knowingly and voluntarily, before a United States Magistrate
Judge.

 

 

nae 7L/3/ I

Before: CaneQe—

United States Magistrate Judge
